AO 106 (Rev, 04/10) Applicat tote Sach WO L00-kjid Document 1 Filed 09/16/24 Page 1 of 1

UNITED STATES DISTRICT COURT RS,PISTRICT couRT

for the FILED

District of Vermont M24 SEP 16 AM IO: 5]

In the Matter of the Search of ) AL x

(Briefly describe the property to be searched ) BY . te
or identify the person by name and address) j Case No. . . . Awa! FEN OO RK
Three Cellular Telephones, Further Described in ) "
Attachment A, Currently in the Custody of Homeland

Security Investigations in South Burllington, Vermont
APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location): , '

See Attachment A, incorporated herein.

located in the District of Vermont , there is now concealed (identify the
person or describe the property to be seized):

See Attachment B, incorporated herein.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
Wf evidence of a crime;
m contraband, fruits of crime, or other items illegally possessed;
& property designed for use, intended for use, or used in committing a crime;
Cl a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 U.S.C. §§ 841(a)(1), 843, Distribution of, use of a communication facility in furtherance of, and conspiracy to
846 distribute controlled substances

The application is based on these facts:

See attached Affidavit, incorporated herein.

wo Continued on the attached sheet.

CO Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attach

Cant's sigmanre

Michael Longevin, HSI Task Force Officer

Printed name and title

Sworn to before me and signed in my presence.

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Date: 09/16/2024 Ken 7. 16 A,

Judge's sighature

City and state: Burlington, VT Hon. Kevin J. Doyle, U.S. Magistrate Judge

Printed name and title
